Case:16-13083-EEB Doc#:519 Filed:06/20/23              Entered:06/20/23 14:45:43 Page1 of 1




 Local Bankruptcy Form 3022-1.3
 Final Decree (Chapter 11 Business Debtor)

                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO


   In re:
                                                   Bankruptcy Case No. 16-13083 (EEB)
   NOVINDA CORP.,
                                                   Chapter 11
   Debtor.


                                      FINAL DECREE
                                 (Chapter 11 Business Debtor)

 The estate of the above-named debtor having been fully administered, it is

          ORDERED that the chapter 11 case of the above-named debtor is hereby closed.




 DATED this 20th day of June, 2023.                  BY THE COURT:


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                                                     Elizabeth
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                                                     Elizabet
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                                                     United States Bankruptcy Judge




 L.B.F. 3022-1.3 (12/17)                                                                 Page 1




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